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                 MDL 2179 Transfer Order and Conditional Transfer Order Status

Order Number          Date Issued      Number of         Status of Order      Notes
                                       Cases Included

1                     8/24/10          26 cases          Became final on      Includes cases
                                       conditionally     9/8/10               from N. Cal., S.
                                       transferred                            Fla., N. Ga., S.
                                                                              Ga., E. Ky., W.
                                                                              Ky, , M. La., W.
                                                                              La, E. Tenn., M.
                                                                              Tenn., and E.
                                                                              Va.

2                     8/31/10          45 cases          One objection        Includes cases
                                       conditionally     was filed,           from M. Fla., N.
                                       transferred       staying the order    Fla., S. Fla., E.
                                                         as to that case.     Tex., S. Tex.,
                                                         Order became         and E. Va.
                                                         final as to all
                                                         remaining cases
                                                         on September
                                                         14, 2010.

3                     9/2/10           33 cases          Two objections       Includes cases
                                       conditionally     were filed,          from S. Tex.
                                       transferred       staying the order
                                                         as to those cases.
                                                         Order became
                                                         final as to all
                                                         remaining cases
                                                         on September
                                                         16, 2010.

4                     9/8/10           38 cases          Became final on      Includes cases
                                       conditionally     9/22/2010            from M. Ala., S.
                                       transferred                            Ala., S. Miss., D.
                                                                              S.C., and E. Tex.

5                     10/27/10         58 cases          Seven objections     Includes cases
                                       conditionally     were filed,          from M. Ala., S.
                                       transferred       staying the order    Ala., Del., N.
                                                         as to those cases.   Fla., S. Fla., S.
                                                         Order became         Ind., W. La., S.
                                                         final as to all      Miss., S. Tex.,
                                                         remaining cases      W. Tex. and E.


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                                                on November 4,      Va.
                                                2010.

6                11/10/10       4 cases         One objection       Includes cases
                                conditionally   was filed,          from N. Fla., S.
                                transferred     staying the order   Fla. and S. Tex.
                                                as to that case.
                                                Order became
                                                final as to all
                                                remaining cases
                                                on November 17,
                                                2010.




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